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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

UNITED STATES OF AMERICA

      vs.                                  Criminal Action 2:21-cr- 194
                                           JUDGE MICHAEL H. WATSON
JOSEPH WILLIAMS

                          REPORT AND RECOMMENDATION

      The United States and defendant Joseph Williams entered into a
plea agreement, executed pursuant to the provisions of Rule
11(c)(1)(A) of the Federal Rules of Criminal Procedure, whereby
defendant agreed to enter a plea of guilty to an Information charging
him with conspiracy to possess with intent to distribute 500 grams or
more of a mixture or substance containing a detectible amount of
methamphetamine in violation of 21 U.S.C. § 846. Information, ECF No.
20. The Information also contains a forfeiture provision. Id.1           On
November 10, 2021, defendant, assisted by his counsel, participated in
an arraignment and entry of guilty plea proceeding.
      After being advised of his right to appear personally and with
his counsel and after consulting with his counsel, defendant consented
to appear by videoconference.
      Defendant waived his right to an indictment in open court and
after being advised of the nature of the charge and of his rights.
See Fed. R. Crim P. 7(b).
      Defendant consented, pursuant to 28 U.S.C. §636(b)(3), to enter a
guilty plea before a Magistrate Judge.       See United States v. Cukaj, 25
Fed.Appx. 290, 291(6th Cir. 2001)(Magistrate Judge may accept a guilty
plea with the express consent of the defendant and where no objection
to the report and recommendation is filed).


      1 Under the Plea Agreement, ECF No. 21, defendant agreed to the
forfeiture provision in the Information. The Plea Agreement also includes an
appellate waiver provision that preserves only certain claims for appeal or
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      During the plea proceeding, the undersigned observed the
appearance and responsiveness of defendant in answering questions.
Based on that observation, the undersigned is satisfied that, at the
time he entered his guilty plea, defendant was in full possession of
his faculties, was not suffering from any apparent physical or mental
illness and was not under the influence of narcotics, other drugs, or
alcohol.
      Prior to accepting defendant’s plea, the undersigned addressed
defendant personally and in open court and determined his competence
to plead.    Based on the observations of the undersigned, defendant
understands the nature and meaning of the charge in the Information
and the consequences of his plea of guilty to that charge.          Defendant
was also addressed personally and in open court and advised of each of
the rights referred to in Rule 11 of the Federal Rules of Criminal
Procedure.
      Having engaged in the colloquy required by Rule 11, the Court
concludes that defendant’s plea is voluntary.        Defendant acknowledged
that the plea agreement signed by him, his attorney and the attorney
for the United States and filed on October 22, 2021, represents the
only promises made by anyone regarding the charge in the Information.
Defendant was advised that the District Judge may accept or reject the
plea agreement and that all sentencing terms will be determined by the
District Judge. Defendant was further advised that, even if the
District Judge refuses to accept any provision of the plea agreement
not binding on the Court or if the sentence imposed is more severe
than the sentence defendant expected, defendant may nevertheless not
withdraw his guilty plea.
      Defendant confirmed the accuracy of the statement of facts
supporting the charge, which is attached to the Plea Agreement.           He
confirmed that he is pleading guilty to Count 1 of the Information
because he is in fact guilty of that offense.        The Court concludes
that there is a factual basis for the plea.

collateral challenge.
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        The Court concludes that defendant’s plea of guilty to Count 1 of
the Information is knowingly and voluntarily made with understanding
of the nature and meaning of the charge and of the consequences of the
plea.
        It is therefore RECOMMENDED that defendant’s guilty plea to Count
1 of the Information be accepted.      Decision on acceptance or rejection
of the plea agreement was deferred for consideration by the District
Judge after the preparation of a presentence investigation report.
        In accordance with S.D. Ohio Crim. R. 32.1, and as expressly
agreed to by defendant through counsel, a written presentence
investigation report will be prepared by the United States Probation
Office.    Defendant will be asked to provide information; defendant’s
attorney may be present if defendant so wishes.        Objections to the
presentence report must be made in accordance with the rules of this
Court.
        If any party seeks review by the District Judge of this Report
and Recommendation, that party may, within fourteen (14) days, file
and serve on all parties objections to the Report and Recommendation,
specifically designating this Report and Recommendation, and the part
thereof in question, as well as the basis for objection thereto.          28
U.S.C. §636(b)(1); F.R. Civ. P. 72(b).      Response to objections must be
filed within fourteen (14) days after being served with a copy
thereof.    F.R. Civ. P. 72(b).
        The parties are specifically advised that failure to object to
the Report and Recommendation will result in a waiver of the right to
de novo review by the District Judge and of the right to appeal the
decision of the District Court adopting the Report and Recommendation.
See United States v. Wandahsega, 924 F.3d 868, 878 (6th Cir. 2019);
Thomas v. Arn, 474 U.S. 140 (1985).




November 10, 202                               s/ Norah McCann King
 Date                                           Norah McCann King
                                          United States Magistrate Judge
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